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                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                                   STATE v. WILSON
                                                   Cite as 306 Neb. 875



                                        State of Nebraska, appellee, v.
                                         Brady J. Wilson, appellant.
                                                     ___ N.W.2d ___

                                          Filed August 21, 2020.   No. S-19-638.

                 1. Statutes: Appeal and Error. Statutory interpretation presents a question
                    of law, which an appellate court reviews independently.
                 2. Convicted Sex Offender: Statutes: Legislature: Intent. Nebraska’s
                    Sex Offender Registration Act is a civil regulatory scheme intended
                    by the Legislature to protect the public from the danger posed by sex
                    offenders.
                 3. Statutes: Appeal and Error. Statutory language is to be given its plain
                    and ordinary meaning, and an appellate court will not resort to inter-
                    pretation to ascertain the meaning of statutory words which are plain,
                    direct, and unambiguous.
                 4. Statutes. A court must attempt to give effect to all parts of a statute,
                    and if it can be avoided, no word, clause, or sentence will be rejected as
                    superfluous or meaningless.
                 5. Statutes: Legislature: Intent. A collection of statutes pertaining to a
                    single subject matter are in pari materia and should be conjunctively
                    considered and construed to determine the intent of the Legislature, so
                    that different provisions are consistent, harmonious, and sensible.
                 6. Statutes: Legislature: Presumptions: Judicial Construction. In deter-
                    mining the meaning of a statute, the applicable rule is that when the
                    Legislature enacts a law affecting an area which is already the subject
                    of other statutes, it is presumed that it did so with full knowledge of the
                    preexisting legislation and the decisions of the Nebraska Supreme Court
                    construing and applying that legislation.
                 7. Statutes: Legislature: Intent. The intent of the Legislature may be
                    found through its omission of words from a statute as well as its inclu-
                    sion of words in a statute.
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                  306 Nebraska Reports
                        STATE v. WILSON
                        Cite as 306 Neb. 875
  Appeal from the District Court for Hamilton County:
Rachel A. Daugherty, Judge. Affirmed.
  Mark Porto, of Porto Law Office, for appellant.
  Douglas J. Peterson, Attorney General, and Siobhan E.
Duffy for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Papik, J.
   After accepting Brady J. Wilson’s no contest pleas to first
degree sexual assault and another related charge, the dis-
trict court sentenced him. As part of sentencing, it found
that Wilson committed an aggravated offense under the Sex
Offender Registration Act (SORA) and was thus subject to a
lifetime registration requirement. Wilson appeals the district
court’s finding that he committed an aggravated offense. We
find that the district court did not err and affirm.
                       BACKGROUND
Charges and Convictions.
   In December 2018, the State charged Wilson by informa-
tion with three counts of first degree sexual assault and one
count of visual depiction of sexually explicit conduct involv-
ing a child. Pursuant to a plea agreement, the State later filed
an amended information charging Wilson with one count of
first degree sexual assault and one count of attempting to pos-
sess a visual depiction of sexually explicit conduct involving
a child.
   Under the plea agreement, Wilson agreed to plead guilty
or no contest to the charges in the amended information. The
State also agreed to dismiss charges against Wilson in another
case involving the same victim. At the plea hearing, Wilson
stated that he wished to plead no contest to both charges in the
amended information.
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
   The State provided a factual basis for the charges at the
plea hearing. With respect to the first degree sexual assault
charge, the prosecutor stated that after initially communicating
on a social media application, Wilson, who was then 21 years
old, met the victim, a 15-year-old female, in September 2018.
Wilson brought alcohol to the meeting, and both he and the
victim consumed it, with the victim drinking to the point of
intoxication. Wilson then drove to a rural area and attempted
to have sexual intercourse with the victim. The victim said that
she did not want to have sexual intercourse, but ultimately sex-
ual intercourse occurred. Wilson later admitted to an investiga-
tor that the victim said no when he attempted to have sexual
intercourse with her.
   Wilson’s counsel subsequently confirmed that Wilson did
not dispute the factual basis. The district court also confirmed
with Wilson that he still wished to plead no contest. After
doing so, the district court accepted the pleas and found Wilson
guilty of both counts alleged in the amended information.

Sentencing.
   A few months later, the district court held a sentencing
hearing. The district court sentenced Wilson to 6 to 10 years’
incar­ceration for first degree sexual assault and 1 to 3 years’
incarceration for attempted possession of a visual depiction of
sexually explicit conduct involving a minor.
   Of relevance to this appeal, the district court stated that
because of the nature of his crimes, Wilson was subject to
the requirements of SORA. The district court also stated that
it had found that “the offense for which you have been con-
victed is an aggravated offense as defined by [Neb. Rev. Stat.
§ 29-4001.01 (Reissue 2016)], and you are therefore required
to register for life.”
   On the same day as the sentencing hearing, the district court
also entered a written judgment and sentencing order. In it, the
district court again stated that it had found that Wilson had
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
committed an aggravated offense and was therefore required
to register under SORA for life.
   Wilson timely appealed.
                  ASSIGNMENT OF ERROR
   Wilson assigns a single error on appeal. He contends that the
district court erred by determining that Wilson committed an
aggravated offense and is therefore required to register under
SORA for life.
                    STANDARD OF REVIEW
   A trial court’s factual determination that a defendant’s crime
was an aggravated offense under SORA is reviewed as a ques-
tion of the sufficiency of the evidence. See, State v. Norman,
285 Neb. 72, 824 N.W.2d 739 (2013); State v. Hamilton, 277
Neb. 593, 763 N.W.2d 731 (2009).
   [1] Statutory interpretation presents a question of law, which
an appellate court reviews independently. State v. Clemens, 300
Neb. 601, 915 N.W.2d 550 (2018).
                          ANALYSIS
Statutory Background.
   [2] There is no dispute in this case that as a result of his
conviction of first degree sexual assault, Wilson is now sub-
ject to SORA. SORA is a civil regulatory scheme intended
by the Legislature to protect the public from the danger posed
by sex offenders. Hamilton, supra. Generally, SORA requires
individuals that plead guilty to or are convicted of certain
enumerated offenses to register with the county sheriff in the
counties where they reside, work, and attend school. See State
v. Ratumaimuri, 299 Neb. 887, 911 N.W.2d 270 (2018). SORA
requirements may also apply to individuals that plead guilty to
or are convicted of other offenses. Ratumaimuri, supra. Wilson
was convicted of first degree sexual assault under Neb. Rev.
Stat. § 28-319 (Reissue 2016), a conviction that makes him
automatically subject to SORA’s requirements. See Neb. Rev.
Stat. § 29-4003(1)(a)(i)(C) (Reissue 2016).
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
   Those persons to whom SORA requirements apply gener-
ally must register “during any period of supervised release,
probation, or parole” and then must continue to comply with
SORA for a registration period following “discharge from
probation, parole, or supervised release or release from incar-
ceration, whichever date is most recent.” See Neb. Rev. Stat.
§ 29-4005(1) (Reissue 2016). Section 29-4005(1) sets forth
three different registration periods. The registration period
is 15 years if the offender was convicted of a registrable
offense not punishable by imprisonment for more than 1 year.
§ 29-4005(1)(b)(i). The registration period is 25 years if the
offender was convicted of a registrable offense punishable
by imprisonment for more than 1 year. § 29-4005(1)(b)(ii).
Relevant to this appeal, the registration period is life if the
offender was convicted of a registrable offense punishable
by imprisonment for more than 1 year and was convicted of
an aggravated offense. § 29-4005(1)(b)(iii). SORA defines
“[a]ggravated offense” as
      any registrable offense under section 29-4003 which
      involves the penetration of, direct genital touching of,
      oral to anal contact with, or oral to genital contact with
      (a) a victim age thirteen years or older without the consent
      of the victim, (b) a victim under the age of thirteen years,
      or (c) a victim who the sex offender knew or should have
      known was mentally or physically incapable of resisting
      or appraising the nature of his or her conduct.
Neb. Rev. Stat. § 29-4001.01 (Reissue 2016).
Parties’ Positions on Appeal.
   Both Wilson and the State contend on appeal that the dis-
trict court erred by finding that Wilson committed an aggra-
vated offense and is therefore required to register for life, but
for different reasons. The State asserts that after amendments
to SORA in 2009, sentencing courts have no role to play in
determining whether a defendant committed an aggravated
offense and is thus obligated to register for life. According
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                       STATE v. WILSON
                       Cite as 306 Neb. 875
to the State, the Nebraska State Patrol is now responsible for
making that determination in all cases.
   Wilson, on the other hand, argues that sentencing courts
must make the determination as to whether a defendant com-
mitted an aggravated offense. He contends, however, that the
district court erred by finding that he committed an aggra-
vated offense.
   Ultimately, we disagree with both the State and Wilson. As
we will explain, we disagree with the State that the district
court committed reversible error by making a finding as to
whether Wilson committed an aggravated offense and we dis-
agree with Wilson that the district court committed reversible
error by making the finding it did.
State’s Argument.
   We begin with the State’s argument that we should vacate
the portion of the sentence in which the district court found
that Wilson committed an aggravated offense and is thus
required to register for life. Prior to statutory amendments to
SORA in 2009, there was no question that a sentencing court
was to make a determination as to whether a registrable offense
under SORA rose to the level of an aggravated offense. Our
opinion in State v. Hamilton, 277 Neb. 593, 763 N.W.2d 731(2009), discussed sentencing courts’ authority to find that an
offense was aggravated. As we discussed in Hamilton, that
authority was made clear by a provision within a prior version
of SORA that directed sentencing courts to make the finding
of an aggravated offense part of the sentencing order. See Neb.
Rev. Stat. § 29-4005(2) (Reissue 2008).
   As alluded to above, however, the State believes that sen-
tencing courts no longer have the authority to find that an
offense is aggravated. The State believes that amendments to
SORA enacted in 2009 placed the sole authority to determine
whether an offense is aggravated with the State Patrol.
   [3-5] The State’s argument requires us to interpret the cur-
rent version of SORA. In doing so, we are guided by familiar
principles. Statutory language is to be given its plain and
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
ordinary meaning, and an appellate court will not resort to
interpretation to ascertain the meaning of statutory words
which are plain, direct, and unambiguous. State v. Dean, 288
Neb. 530, 849 N.W.2d 138 (2014). A court must attempt to
give effect to all parts of a statute, and if it can be avoided,
no word, clause, or sentence will be rejected as superfluous
or meaningless. Id. A collection of statutes pertaining to a
single subject matter are in pari materia and should be con-
junctively considered and construed to determine the intent
of the Legislature, so that different provisions are consistent,
harmonious, and sensible. State v. Montoya, 305 Neb. 581, 941
N.W.2d 474 (2020).
   The principal statute upon which the State relies for its
argument is Neb. Rev. Stat. § 29-4013(5) (Reissue 2016),
which provides that certain officials within the State Patrol
“shall have access to all documents that are generated by any
governmental agency that may have bearing on sex offender
registration and community notification.” Section 29-4013(5)
goes on to state that “[a]ccess to such documents will ensure
that a fair determination of what is an appropriate registra-
tion period is completed using the totality of all information
available.” This language, the State suggests, places the sole
authority to determine whether an offense was aggravated with
the State Patrol.
   We observe initially that it is not obvious to us that this
language confers as much authority on the State Patrol as the
State contends. It would seem there would be a clearer and
more direct way to confer such authority on the State Patrol.
Moreover, the State has a difficult task before it to reconcile
its position with another provision of SORA: Neb. Rev. Stat.
§ 29-4007(1)(a)(i) (Cum. Supp. 2018). That statute provides
that when sentencing a person for a registrable offense under
SORA, the court has a duty to provide the defendant with
written notification of the duty to register and that the writ-
ten notification shall, among other things, inform the defend­
ant of “the duration of time he or she will be subject to the
act.” § 29-4007(1)(a)(i). This language replaced the former
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
language requiring sentencing courts to make a finding that
the defend­ant committed an aggravated offense part of the
sentencing order.
   The obvious question for the State raised by this language
is: How is the court to inform the defendant of the duration
of time he or she will be subject to SORA at sentencing if
that determination is made later by the State Patrol? On this
question, the State takes the position that the language of
§ 29-4007(1)(a)(i) obligates the sentencing court to provide the
defendant with only a list of possible registration periods, i.e.,
that the registration period might be for 15 years, it might be
for 25 years, and it might be for life.
   We need not decide today whether the sentencing court
meets its obligation under § 29-4007(1)(a)(i) by providing
the defendant with only a range of possible registration peri-
ods. But given the direction to sentencing courts to notify the
defendant of “the duration of time he or she will be subject to
the act,” § 29-4007(1)(a)(i) (emphasis supplied), we cannot say
that sentencing courts lack authority to find that the offender
committed an aggravated offense and to inform the defendant
that he or she is thus required to register for life. Moreover, we
see nothing in SORA that indicates that when the sentencing
court concludes that the defendant committed an aggravated
offense and advises the defendant of a lifetime registration
obligation, the State Patrol has authority to make a contrary
determination. In making this statement, we are aware of Neb.
Rev. Stat. § 29-4006(7) (Reissue 2016), which obligates the
State Patrol to notify a person subject to SORA of his or her
registration duration. We see no indication that in carrying out
this notification obligation, the State Patrol can contradict a
sentencing court’s finding that the defendant committed an
aggravated offense.
   Our conclusion that the State Patrol cannot make a differ-
ent determination regarding an offender’s registration duration
after the sentencing court finds an aggravated offense should
not be understood to foreclose the State Patrol from playing
any role in determining the registration duration for offenders
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                         STATE v. WILSON
                         Cite as 306 Neb. 875
subject to SORA. Section 29-4013(5) gives it authority to
determine the “appropriate registration period” and, if pos-
sible, that language must be given some effect. See State
v. Dean, 288 Neb. 530, 849 N.W.2d 138 (2014). But under
§ 29-4005(2) (Reissue 2016), the State Patrol is clearly given
authority to reduce the registration period for some offend-
ers from 15 years to 10 years under certain circumstances. In
addition, Wilson suggests the language of § 29-4013(5) gives
the State Patrol the authority to determine the registration
duration for those offenders subject to SORA as a result of
out-of-state convictions where the sentencing court would not
make a finding that the offense was an aggravated one under
SORA. But again, it is not necessary to decide the full scope
of the State Patrol’s authority in this case. It is sufficient today
to hold that the sentencing court has the authority to find that
the defendant committed an aggravated offense and that the
State Patrol lacks the authority to subsequently make a differ-
ent determination.
   Finally, we are not persuaded by the State’s suggestion that
the district court committed reversible error because it included
its finding that Wilson committed an aggravated offense and
is thus required to register for life in both its oral pronounce-
ment of his sentences and the written sentencing order. On
this point, the State relies on State v. Nelson, 27 Neb. App.
748, 936 N.W.2d 32 (2019), a recent opinion of the Nebraska
Court of Appeals. In Nelson, the Court of Appeals concluded
that the district court erred by including a finding in the oral
pronouncement of a sentence that the defendant committed
an aggravated offense and was thus required to register for
life. The court reasoned that this was error, because after the
2009 amendments to SORA, sentencing courts are to inform
the defendant of his registration duration through a writ-
ten notification.
   The State appears to understand the 2009 amendments to
SORA to require the district court to inform the defendant
of the duration of his registration obligation under SORA in
a written notification separate from the sentence. That may
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
well be the case, but we do not believe it follows that the
district court commits reversible error if its sentencing order
provides that it has found that the defendant committed an
aggravated offense and has a resulting lifetime registration
obligation. To the extent Nelson suggests otherwise, it is disap-
proved. Wilson makes no argument on appeal that the district
court failed to provide notice of the duration of his registration
obligation under SORA in some format other than in the sen-
tencing order, and we thus do not consider that issue.
Wilson’s Argument.
   Having concluded that the district court had the authority
to make a determination regarding whether Wilson commit-
ted an aggravated offense, we turn to Wilson’s argument that
it erred by concluding he did. Wilson’s argument, much like
the State’s, relies heavily on amendments to SORA enacted
in 2009. He claims that as a result of those amendments, the
district court must make its determination about whether the
offense was aggravated solely by considering the elements of
the offense of conviction. The court cannot, Wilson asserts,
consider the facts underlying the conviction.
   In yet another similarity to the argument advanced by the
State, Wilson’s argument would clearly lack merit if made prior
to the 2009 amendments to SORA. As noted above, this court
addressed this very issue in State v. Hamilton, 277 Neb. 593,
763 N.W.2d 731 (2009). In Hamilton, we laid out a number of
reasons why we interpreted SORA to authorize a sentencing
court, in determining whether an offense was aggravated, to
consider any information in the record, including the factual
basis for a plea-based conviction and information contained in
the presentence report. Those reasons included our assessment
that if the Legislature intended to require that the presence of
aggravation be derived solely from the elements of the offense,
it could have used specific language to that effect as it has in
other statutes. Hamilton, supra.   In concluding in Hamilton that the pre-2009 amendment
version of SORA allowed sentencing courts to consider any
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
information in the record, we also relied on the purposes of
SORA. We noted that in enacting SORA, the Legislature made
findings that sex offenders present a high risk to reoffend
and that efforts to protect communities from sex offenders
are impaired by a lack of information about where previous
offenders live, work, and attend school. We also observed
that by requiring shorter registration requirements for some
offenders but lifetime registration requirements for those that
commit aggravated offenses, the Legislature demonstrated an
intent to provide enhanced assistance to law enforcement and
protection to the public regarding those that commit aggra-
vated offenses. We concluded that this purpose would be
frustrated if a person who had in fact committed an act that
would meet the definition of an aggravated offense “would be
exempted from the lifetime registration requirement simply by
pleading to a lesser offense.” Hamilton, 277 Neb. at 601, 763
N.W.2d at 737.
   Wilson contends that the 2009 amendments to SORA
changed what the district court may consider in determin-
ing whether the defendant committed an aggravated offense.
In support of this argument, he relies heavily on dicta in
State v. Nelson, 27 Neb. App. 748, 936 N.W.2d 32 (2019). In
Nelson, prior to finding that the district court erred by includ-
ing a finding of aggravation in the pronouncement of the
sentence, the Court of Appeals stated that in the amendments
to SORA, the Legislature “clearly eliminated the court’s role
in separately determining the fact of whether an aggravated
offense occurred by reviewing the record.” 27 Neb. App. at
760, 936 N.W.2d at 40. The Court of Appeals understood
the 2009 amendments to limit the sentencing court’s inquiry
“to whether the defendant has been convicted of an aggra-
vated offense.” Id. The Court of Appeals found that the
Legislature had made this change by removing the language
in § 29-4005(2) (Reissue 2008) formerly requiring that, with
respect to a finding of an aggravated offense, “‘[a] sentencing
court shall make that fact part of the sentencing order’” and
replacing it with language in § 29-4005(1)(b)(iii) (Reissue
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2016) stating that the defendant had a lifetime registration
requirement if convicted of a registrable offense punishable
by imprisonment for more than 1 year “‘and was convicted
of an aggravated offense.’” Hamilton, 277 Neb. at 760, 936
N.W.2d at 40, 41.
   [6,7] We disagree with the Court of Appeals that the 2009
amendments to SORA changed what a sentencing court may
consider in determining whether the defendant committed an
aggravated offense. Two principles of statutory interpreta-
tion factor heavily in our reasoning. First, in determining
the meaning of a statute, the applicable rule is that when the
Legislature enacts a law affecting an area which is already
the subject of other statutes, it is presumed that it did so with
full knowledge of the preexisting legislation and the deci-
sions of the Nebraska Supreme Court construing and apply-
ing that legislation. McEwen v. Nebraska State College Sys.,
303 Neb. 552, 931 N.W.2d 120 (2019). Second, the intent of
the Legislature may be found through its omission of words
from a statute as well as its inclusion of words in a statute.
Stewart v. Nebraska Dept. of Rev., 294 Neb. 1010, 885 N.W.2d
723 (2016).
   Under the first principle of statutory interpretation, the
Legislature is presumed to have knowledge of our decision
in Hamilton interpreting the prior version of SORA to allow
sentencing courts to consider all information in the record to
determine whether an aggravated offense had been commit-
ted. Given this presumed knowledge, one would expect the
Legislature to have clearly expressed any change to our inter-
pretation of SORA in Hamilton. We see no such expression,
and thus the canon of interpretation regarding legislative omis-
sion comes into play.
   Further, the two reasons for our interpretation in Hamilton
that we summarized above remain just as applicable after
the 2009 amendments as before. There is still no language
in SORA expressly providing that whether an offense is
aggravated is to be determined solely with reference to the
elements of the convicted offense. And we do not understand
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
the 2009 amendments to SORA to have fundamentally
changed its general purpose or its means of achieving that
purpose by requiring certain offenders to register for life.
SORA’s purpose would be frustrated just as much after the
2009 amendments as before if defendants who actually com-
mitted aggravated offenses could avoid lifetime registration
requirements by pleading to an offense with elements that did
not necessarily constitute an aggravated offense.
   Neither are we persuaded by Wilson’s invocation of legisla-
tive history. Wilson claims that two items within the legislative
history of the 2009 SORA amendments support his interpre-
tation. He points to language in which the introducer stated
that under the bill, “[l]ength of registration is based solely
on the convicted offense(s).” See Introducer’s Statement of
Intent, L.B. 285, Judiciary Committee, 101st Leg., 1st Sess.
(Mar. 18, 2009). He also directs us to testimony of the bill’s
sponsor in committee in which the sponsor indicated that
the bill would move the focus from subjectively determin-
ing whether an offender is likely to reoffend to whether the
offender had objectively been convicted of a particular crime.
This legislative history, Wilson asserts, shows the Legislature
intended to have courts no longer determine whether the con-
duct was aggravated with reference to all available information
in the record.
   We do not understand the legislative history Wilson relies
on to be relevant to the question of whether the sentencing
court can consider all information in the record in determin-
ing whether an offense is aggravated. One of the effects of the
2009 amendments to SORA was to remove sentencing courts’
authority to find that a defendant was a sexually violent preda-
tor. Under the prior version of the statute, a finding that the
defendant was a sexually violent predator would subject the
defendant to a lifetime registration requirement. § 29-4005(3)
(Reissue 2008). A “[s]exually violent predator” was defined
to be a person convicted of one or more registrable offenses
and “who suffers from a mental abnormality or personality
disorder that makes the person likely to engage in sexually
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violent offenses.” § 29-4005(4)(c) (Reissue 2008). The prior
version of SORA thus made the registration period for offend-
ers depend upon whether the sentencing court found they were
likely to reoffend. We understand the legislative history Wilson
relies on to refer to the elimination of that authority in the
2009 amendments.
   Now that we have determined that the district court could
consider any information in the record, including the factual
basis for Wilson’s plea and information contained in the pre-
sentence report, we turn to the question of whether the district
court erred in determining that Wilson committed an aggra-
vated offense. We have previously held that a finding necessary
to make a defendant subject to SORA if convicted of a crime
that is not inherently sexual in nature must be established by
clear and convincing evidence. See State v. Norman, 282 Neb.
990, 808 N.W.2d 48 (2012). We believe the same burden of
proof would apply here. We are thus required to affirm if,
viewing the evidence in the light most favorable to the State,
any rational trier of fact could have found with a firm convic-
tion that Wilson committed an aggravated offense. See State v.
Norman, 285 Neb. 72, 824 N.W.2d 739 (2013).
   Wilson acknowledges that because of the victim’s age in
this case, she could not legally consent to sexual activity with
him. He claims, however, that the aggravated offense defini-
tion in SORA is framed in terms of actual consent, rather than
legal consent. And he argues that there is insufficient evidence
to show that the victim did not actually consent to the sexual
intercourse at issue.
   We find it unnecessary to determine whether Wilson’s inter-
pretation of consent in § 29-4001.01(1) is correct. Even assum-
ing the aggravated offense definition is framed in terms of
actual consent, we find that the district court could have
reasonably found with a firm conviction that the offense was
aggravated.
   As we described above, in the factual basis provided by
the State and to which Wilson did not object, it was stated
that Wilson supplied the victim with alcohol, that she drank
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                        STATE v. WILSON
                        Cite as 306 Neb. 875
to the point of intoxication, and that despite her communicat-
ing that she did not want to have sexual intercourse, sexual
intercourse occurred. In addition, there is information in the
presentence report that the victim reported that she had no
memory of the encounter with Wilson, that she did not con-
sent, and that she did not even know what happened until
Wilson contacted her the next day and said he hoped she was
not angry that they had sex.
   Based on this information, the district court could have rea-
sonably found with a firm conviction that, even setting aside
the victim’s inability to legally consent, she did not actually
consent to sexual intercourse with Wilson and thus the offense
was aggravated under § 29-4001.01(1)(a). Based on this same
information, the district court could also have reasonably found
with a firm conviction that Wilson knew or should have
known that the victim was physically incapable of resisting
or appraising the nature of her conduct and thus the offense
was aggravated under § 29-4001.01(1)(c). See In re Interest
of K.M., 299 Neb. 636, 644, 910 N.W.2d 82, 88 (2018) (“law
of sexual assault has traditionally recognized certain circum-
stances under which an individual lacks the capacity to consent
to sexual conduct and where sexual contact with that person
thus constitutes sexual assault: where the victim is severely
intoxicated”). We thus reject Wilson’s argument that the district
court erred by finding that he committed an aggravated offense
under SORA.
                         CONCLUSION
   Because the district court did not err in determining that
Wilson committed an aggravated offense and was thus subject
to a lifetime registration obligation under SORA, we affirm.
                                                  Affirmed.
